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                                              #1471



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
vs.                                               )   CRIMINAL NO. 08-30235-GPM-05
                                                  )
BRYANT K. MAYBELL,                                )
                                                  )
                       Defendant.                 )


                           MEMORANDUM AND ORDER
MURPHY, District Judge:

       This matter is before the Court on Defendant Bryant K. Maybell’s motion to dismiss the

fourth superseding indictment (Doc. 430). Mr. Maybell filed his motion after the jury was

empaneled for his trial on conspiracy to distribute crack cocaine. The Court took Mr. Maybell’s

motion under advisement, and the jury returned a guilty verdict on January 26, 2011. Upon further

consideration of Mr. Maybell’s motion, the Government’s response, and, particularly, guidance from

the Seventh Circuit’s recent opinion in United States v. Fisher, the Court now DENIES the motion.

635 F.3d 336 (7th Cir. 2011).

       The basis of Mr. Maybell’s motion to dismiss is the disconnect between the amount of crack

cocaine charged in the fourth superceding indictment pursuant to 21 U.S.C. § 841(b)(1)(A)(iii)S50

grams or moreSand the amount of crack cocaine required under 21 U.S.C. § 841(b)(1)(A)(iii) after

passage the Fair Sentencing Act (FSA)S280 grams or more. Section 841(b)(1)(A)(iii) sets the outer

limits of a possible sentence. Here that outer limit would be life in prison. According to the motion,

the indictment is fatally flawed because “50 grams or more” of crack cocaine can no longer form

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the basis for a crime under 21 U.S.C. § 841(b)(1)(A)(iii).

       The FSA amended which drug quantities invoke § 841(b)(1)’s minimum and maximum

sentence limits. See United States v. Bell, 624 F.3d 803, 814 (7th Cir. 2010) (“The FSA amended

[21 U.S.C. § 841] by resetting the drug quantities required to trigger mandatory minimum

sentences.”) Specifically, the FSA struck the “50 gram” drug quantity of § 841(b)(1)(A)(iii) and

inserted “280 grams.” Before the 2010 FSA amendment, 841(b)(1)(A)(iii) specified that “50 grams

or more” of crack cocaine mandated a sentence of not less than 10 years imprisonment and no more

than life imprisonment. After the FSA amendment, § 841(b)(1)(A)(iii) now specifies that “280

grams or more” mandates those sentence parameters.

       The FSA was effective as of August 3, 2010. See id. Section 8 of the FSA required the

United States Sentencing Commission (USSC) “to promulgate, under emergency authority, the

amendments provided for in the Act and such conforming amendments as the Commission

determined necessary to achieve consistency with other guideline provision and applicable law.”

October 18, 2010 Introductory Letter of USSC Chair William K. Sessions, III, to the November 1,

2010 Supplement to the 2010 Guidelines Manual. The USSC did establish emergency amendments

to the guidelines pursuant to the FSA, and those amendments were effective November 1, 2010.

Here, the fourth superceding indictment was filed December 15, 2010 and alleged a period of

offense conduct from January 2005 to February 2009 (Doc. 400). The jury was selected on January

24, 2011. The charged offensive conduct then, occurred before the FSA and the resultant sentencing

amendments were effective, but the superceding indictment and Mr. Maybell’s trial occurred after

the FSA and the sentencing amendments became effective. Mr. Maybell’s sentencing will also take

place after the FSA effective date.


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        In United States v. Bell, the Seventh Circuit held that the FSA is not retroactive when

already-sentenced defendants move for sentence reduction under the FSA. 624 F.3d 803, 814-815

(7th Cir. 2010). Defendant Bell committed an offense under 21 U.S.C. § 841(a)(1) on January 13,

2009, and he was sentenced before the August 3, 2010 enactment of the FSA. Bell, 624 F.3d at 805,

807. The Seventh Circuit found that “the savings statute operates to bar the retroactive application

of the FSA. Id. at 814. As the Court explained, “[t]he general federal savings statute, 1 U.S.C. §

109, provides that ‘the repeal of any statute shall not have the effect to release or extinguish any

penalty, forfeiture, or liability incurred under such statute, unless the repealing Act so shall expressly

provide.’” Id. The Bell Court cited the Supreme Court’s decision in Warden Lewisburg Penitentiary

v. Marrero, in which the Supreme Court noted that the savings clause can “bar application of

ameliorative criminal sentencing laws repealing harsher ones in force at the time of the commission

of an offense. 417 U.S. 653, 661 (1974).

        So, per Bell, the FSA is not retroactive. The question remained, however, whether the FSA

was retroactive to the conduct of a defendant who had yet to be indicted or sentenced when the FSA

came into effect. Such is Mr. Maybell’s situation. The Seventh Circuit has recently put this

question to bed in United States v. Fisher. 635 F.3d 336 (7th Cir. 2011). In Fisher, the Seventh

Circuit addressed the very scenario at issue here. A defendant in Fisher argued that “regardless of

when the criminal conduct took place,” the FSA should apply to sentences imposed after the FSA

effective date. Id. at 339. The Seventh Circuit clarified its holding in Bell: “[W]e reaffirm our

finding that the FSA does not apply retroactively, and further find that the relevant date for a

determination of retroactivity is the date of the underlying criminal conduct, not the date of

sentencing.” Id.


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       That is the end of the inquiry here. Mr. Maybell’s relevant conduct occurred before the FSA

was effective, so the FSA does not apply to his indictment or sentencing. The Court can add little

to the frank assessment of the Seventh Circuit in Fisher: “We have sympathy for the [] defendants

here, who lost on a temporal roll of the cosmic dice and were sentenced under a structure which has

now been recognized as unfair. However, punishment for federal crimes is a matter for Congress...”

Fisher at 340. Mr. Maybell’s motion to dismiss the fourth superceding indictment is therefore

DENIED.

       IT IS SO ORDERED.

       DATED: April 26, 2011


                                                     s/ ZA ctàÜ|v~ `âÜÑ{ç
                                                     G. PATRICK MURPHY
                                                     United States District Judge




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